                                                     January 11, 2018

 Via ECF and Email

 The Honorable Andrew L. Carter, Jr.
 United States District Court
 Southern District of New York
 40 Foley Square, Room 435
 New York, NY 10007

           Re:        Knight First Amendment Institute v. U.S. Department of
                      Homeland Security, et al., Case No. 17-CV-7572 (ALC)

 Dear Judge Carter,

         Counsel for Plaintiff write because it has come to our attention that
 we neglected to file a response to the government’s letter requesting a
 conference in connection with its proposed motion to dismiss U.S.
 Immigration and Customs Enforcement (“ICE”) from the above-referenced
 action. Defs.’ Letter dated Dec. 28, 2017, ECF No. 28. We apologize to the
 Court for this oversight. Since the government filed its letter, however, the
 parties have conferred and have agreed that ICE should be dismissed
 without prejudice. Accordingly, Plaintiffs today have filed a stipulation of
 voluntary dismissal of ICE pursuant to Federal Rule of Civil Procedure
 41(a)(1)(A)(ii).

                                                     Respectfully,

                                                     /s/ Jameel Jaffer

                                                     Jameel Jaffer (JJ-4653)
                                                     Alex Abdo (AA-0527)
                                                     Carrie DeCell (motion for
                                                        admission forthcoming)
                                                     Knight First Amendment Institute
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                                                     Counsel for Plaintiff




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cc: Ellen Blain, Esq. (via Email)




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